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                          IN THE UNITED STATES DISTRICT COURT

                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA




 IN RE: NATIONAL FOOTBALL LEAGUE                            :          No. 2:12-md-02323-AB
 PLAYERS’ CONCUSSION INJURY                                 :
 LITIGATION                                                 :                   MDL No. 2323
                                                            :
                                                            :             Hon. Anita B. Brody
 THIS DOCUMENT RELATES TO:                                  :
                                                            :
 ALL ACTIONS                                                :
                                                            :




                           DECLARTION OF ORRAN L. BROWN, SR.

                           A. BACKGROUND INFORMATION

       1.     The Declarant. My name is Orran L. Brown, Sr. I am the Chairman and a

founding partner of BrownGreer PLC, located at 250 Rocketts Way, Richmond, Virginia

23231. I have worked in the mass claims area, including class actions, for over 30 years. I

have extensive experience as a lawyer handling class action proceedings, settlements and

notices; as a claims administrator designing and implementing class action settlements,

notice plans and notices to claimants and counsel; as a notice administrator; as a trustee or

special master involved in multiple claim proceedings; and as an educator on class actions

and other complex litigation.

       2.     General Description of BrownGreer. BrownGreer has specialized in notice

administration and settlement administration since my partner, Lynn Greer, and I founded the




                           ATTAHMENT A
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firm in 2002. We are experts in the legal and administrative aspects of the design, approval

and implementation of notice plans, settlement programs and the design, staffing and

operation of claims facilities to provide damages payments, medical monitoring, or other

benefits for the resolution of multiple claims through class action settlement, bankruptcy

reorganization, voluntary agreement, or other aggregation vehicles. We have played major

roles in many of the largest and most complex multiple claim proceedings and multiple claim

settlement programs in history, serving as administrators, special masters, trustees, or

settlement counsel.

       3.     Role in this Settlement Program. BrownGreer is the Court-appointed Claims

Administrator in connection with the class action settlement that this Court approved on

April 22, 2015, as amended May 8, 2015. Two of our duties in administering the Settlement

Agreement are: (1) analyzing claims to detect and prevent fraudulent submissions and

payments on fraudulent claims; and (2) determining whether there is a reasonable basis to

support a finding that there has been a misrepresentation, omission, or concealment of a

material fact in connection with a claim.

               B. EVENTS GIVING RISE TO THE PRESENT MOTION

       4.     Purpose of this Declaration. I offer this Declaration to verify the facts described

in the Memorandum in Support of Motion for Order to Show Cause I am filing on behalf of

BrownGreer.

       5.     Collins & Truett. Collins & Truett Attorneys, P.A., which has given us the

address of 113 South Monroe Street, Tallahassee, Florida 32301, is counsel to 64 Settlement

Class Members who registered with BrownGreer for benefits in the NFL Concussion

Settlement Program established by the Class Action Settlement Agreement. We have 11



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claims for Monetary Awards from the firm. Collins & Truett assumed representation of eight

of those 11 claimants previously presented by other law firms, and has filed three claims

itself. One of the 11 claims, one since has been withdrawn; four have been denied; and six

(one of which was paid while being handled by predecessor counsel), are the subject of an

Audit investigation by BrownGreer. The information available to us is that Richard Collins

has had three Collins & Truett law firms: Collins & Truett Attorneys, P.A., a Florida Profit

Corporation, formed 7/13/20 and currently active; Collins & Truett, LLC, a Florida Limited

Liability Company, formed 3/1/13 and currently active; and Collins & Truett Law Firm,

P.A., a Florida Profit Corporation, formed 4/30/20 and dissolved 6/18/20.

       6.     Audit Rules. Pursuant to Section 10.3(b) of the Settlement Agreement which

directed Class Counsel, the NFL Parties and BrownGreer to “establish and implement

procedures to detect and prevent fraudulent submissions to, and payments of fraudulent claims

from, the Monetary Award Fund,” we developed and agreed upon the procedures for the Audit

function in the Rules Governing the Audit of Claims, first adopted by the Court’s Special

Masters on January 26, 2018. These Rules are available on the Program’s public website.

       7.     Origins of the Tim Howard Audit. In March, April, and August 2017,

BrownGreer received tips asserting that Howard & Associates, a law firm run by Tim

Howard in Tallahassee, Florida (with offices located a little over four miles from the Collins

& Truett offices), recruited various doctors, demanded revisions to medical reports, and, in

some cases, altered or forged reports to support inflated diagnoses to submit claims for

Monetary Awards. In August 2017, we began auditing Howard & Associates and submitted

an Interim Investigation Report to the Special Masters and Parties detailing the allegations,




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as well as next steps in its investigation. We suspended the investigation because we had not

yet received any Monetary Award claims submitted by Howard & Associates.

       8.     Continuation of the Tim Howard Audit. We resumed the analysis in June

2019, however, after Settlement Class Members previously represented by Howard &

Associates submitted medical records from time periods when they were Howard &

Associates clients. On November 25, 2020, we issued to the NFL Parties and Class Counsel

a Report of Adverse Finding in Audit to the Special Masters under Audit Rule 15, finding

that Howard & Associates:

       (1) edited and/or drafted medical records with the purpose to affect whether the
           Settlement Class Members qualify for a Monetary Award;
       (2) instructed medical providers, including Qualified MAF Physicians and BAP
           Providers, to misrepresent material information in medical records for the Settlement
           Program;
       (3) engaged in discussions with numerous healthcare providers about changes to Players’
           medical reports, and provided instructions to the providers about what the medical
           reports should include;
       (4) directed a physician to omit material facts from the Network Provider Application and
           communicate untruthful information to become a (now former) Qualified MAF
           Physician and BAP Provider; and
       (5) presented inflated costs for reimbursement in a lien dispute before the Court.
       9.     Connection Between Tim Howard and Collins & Truett. Richard Collins and

Collins & Truett are implicated in the Tim Howard Audit investigation. Many Settlement

Class Members formerly represented by Howard & Associates have switched representation

to Collins & Truett. A paralegal who used to work on Settlement Class Members’ claims at

Howard & Associates, Neil Bruce Epstein, now works on those claims for Richard Collins at

Collins & Truett.

       10.    Proceedings on the Tim Howard Audit. Under Audit Rule 16, the NFL

Parties and Class Counsel have 15 days to tell us whether they agree with referring an

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Adverse Report to the Special Masters for consideration. Both agreed on December 10,

2020, and then the NFL Parties submitted their Statement of Position under Audit Rule 17 on

December 29, 2020, arguing that all parties involved in Tim Howard’s scheme should be

banned from the Settlement Program or be subject to additional investigation. On January

22, 2021, the Special Masters accepted referral of the Howard Audit Report under Audit

Rule 18, at which time we sent the Audit Report to Tim Howard, and notified Richard

Collins and his paralegal, Neil Epstein, that the Special Masters had directed us to Audit all

pending Monetary Award claims of any Settlement Class Member that had at any time been

represented by Howard & Associates, which included claims by then being handled by

Collins & Truett.

       11.    Contact with Richard Collins. In February and March 2021, Richard Collins was

asking us why his claims were on Audit hold. On March 16, 2021, we acknowledged Richard

Collins’ correspondence and separately sent questions to him about his relationships with Tim

Howard. On March 17, 2021, Richard Collins asked to speak with us, to which we replied that it

may make sense to talk after he had a chance to respond to our March 16 questions. Richard

Collins denied receiving those questions and complained about the Audit delaying his claims,

saying he would obtain from Tim Howard a copy of our Adverse Audit Report. We re-sent him

our March 16 email with our questions.

       12.    Initial Answers from Collins & Truett. On March 18, 2021, we received

responses to our March 16 questions. Richard Collins acknowledged a “limited” professional

relationship with Tim Howard and co-counsel relationship with him on other cases. Sharon

Delaney, a contractor who works with Collins & Truett and other firms in preparing Monetary

Award claims, denied knowing Tim Howard; Neil Epstein said he worked for Howard until



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“early 2020.” All three denied any arrangements or agreements with Tim Howard related to the

NFL Program.

          13.   Further Evidence of Connections Between Tim Howard and Collins & Truett.

In April-May, we continued to try to understand the facts about the Collins & Truett work with

Tim Howard and gradually obtained more data from Richard Collins about his employees. On

April 15, 2021, we received a package from a confidential source that included documents

relating to Tim Howard and Collins & Truett, showing two email addresses at the Collins &

Truett firm that seemed to be related to Tim Howard: tim@collinstruett.com and

phil@collinstruett.com. Tim Howard’s full name is Phillip Timothy Howard.

          14.   Collins & Truett Servers. We have no access to any Collins & Truett email

server or any of the firm’s servers or computer network. We have not “hacked” any of their

emails or servers, or attempted to do anything of the sort.

          15.   Questions to Collins & Truett About its Tim and Phil Email Addresses and

Other Evidence. On April 19, 2021, we sent follow-up questions to Richard Collins about Neil

Epstein’s email addresses, his use of two names at the firm, participants in the video they sent us,

more information about the three Collins & Truett firms, a Collins & Truett fax cover sheet

bearing the logo of “Howard Justice,” who were the persons using the phil and tim email

addresses at Collins & Truett, and whether Tim Howard does any business under Collins &

Truett.

          16.   Further Proceedings in the Tim Howard Audit. Tim Howard filed with the

Special Masters his responses to the Adverse Audit Report under Audit Rule 20, by submiting an

initial response in three parts on February 4, 2021, a Supplemental Response in two parts on

February 17, 2021, and then a “Final Supplemental Response” on February 22, 2021, which



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totaled 36 pages, not including exhibits. After the NFL Parties replied to these materials on

April 5, 2021, Tim Howard filed on April 6, 2021, a sur-reply, which is not contemplated by the

Audit Rules.

       17.     Tim Howard Motion to Discipline the Special Masters. On April 9, 2021, after

several corrections to remove confidential information, Tim Howard filed with this Court a

“Motion to Discipline or Dismiss Special Masters and Auditors” (Document 11328), arguing that

the auditors and Special Masters violated investigative standards and exhibited bias in their

operations. That Motion is pending.

       18.     Decision by the Special Masters Disqualifying Tim Howard. On June 22, 2021,

the Special Masters issued their Decision under Audit Rule 27 on Howard & Associates,

disqualifying Howard and his employees from participation in the Settlement Program and

directing BrownGreer to investigate the relationship between Collins & Truett and Howard &

Associates and Collins & Truett’s representation of Settlement Class Members. The Special

Masters also ruled that “Given the apparent connection between Collins & Truett and Tim

Howard, the Claims Administrator shall investigate the relationship between the two firms and

Collins & Truett’s current representation of Settlement Class Members in the Program.” On

June 28, 2021, we emailed a copy of that Decision to Richard Collins and Neil Epstein.

       19.     Delivery of the Collins & Truett Complaint to Our Front Desk. On June 21,

2021, two copies of a summons and a pleading called “Complaint for Temporary and

Permanent Injunction” were delivered to the front desk at the offices of BrownGreer in

Richmond, Virginia. One copy of this document is attached as Ex. 1. The front desk

receptionist at BrownGreer has not been authorized to accept service of process on behalf of




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BrownGreer or Roma Petkauskas. Service of the Complaint has not been made in any other

manner on either BrownGreer or Ms. Petkauskas.

        20.    First Attempt to Meet and Confer with Richard Collins. On June 23, 2021,

Roma Petkauskas at BrownGreer emailed Richard Collins asking to speak with him about his

Complaint filed in Florida and request his cooperation in addressing his complaints in this Court

as the proper forum. A copy of her email is attached as Ex. 2. Mr Collins has not responded to

her.

        21.    Second Attempt to Meet and Confer with Richard Collins. On June 25, 2021,

I emailed Richard Collins, Neil Epstein, and Sharon Delaney a letter (attached as Ex. 3),

explaining that the filing in Florida failed to honor this Court’s exclusive jurisdiction and

violated the Final Order and Judgment of this Court. I asked Mr. Collins to call me so we

could meet and confer on withdrawing his suit and addressing his complaints properly.

        22.    Email from Sharon Delaney. On that same day, June 25, 2021, Sharon

Delaney emailed me saying that neither she nor her company, Ohana Management Group,

“have anything to do with this injunction lawsuit.” ( copy attached as Ex. 4.)

        23.    No Response from Richard Collins. Richard Collins has not responded in any

manner to my June 25 letter. Instead, his paralegal, Neil Epstein emailed me on June 29,

2021 (attached as Ex. 5), saying, among many other things, “In discussions with Mr. Collins,

we are certainly not going to rescind our Complaint for Injunctive Relief . . ..” filed in state

court in Florida.




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       I, Orran L. Brown, Sr., declare under penalty of perjury pursuant to 28 U.S.C. § 1746 that

the foregoing is true and correct to the best of my knowledge, information, and belief. Executed

on this 6th day of July, 2021.




                                            _________________________________________
                                                          Orran L. Brown, Sr.




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From:           rpetkauskas@browngreer.com
To:             dick@collinstruett.com
Subject:        Request for a Call
Date:           Wednesday, June 23, 2021 11:54:25 AM


Hi Mr. Collins. Would you have some time for a call to discuss the Complaint you filed?
Today or tomorrow would be ideal for me, but I understand you may not have availability, so
let me know what might work for you.

Thank you!
Roma

Roma Petkauskas
BROWNGREER PLC
250 Rocketts Way
Richmond, Virginia 23231
Telephone: (804) 521-7218
Facsimile: (804) 521-7299
www.browngreer.com

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                                  EXHIBIT 2
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From:               Orran Brown
To:                 Dick@CollinsTruett.com
Cc:                 neil@collinstruett.com; bruce@collinstruett.com; Sharon@CollinsTruett.com; mssdelaney@gmail.com
Subject:            Collins & Truett Attorneys, PA. v. Roma Petkauskas, et al.
Date:               Friday, June 25, 2021 3:33:00 PM
Attachments:        Letter from Orran Brown.pdf


Please see my attached letter. Thank you.

Orran L. Brown, Sr.
BROWNGREER PLC
250 Rocketts Way
Richmond, Virginia 23231
Telephone: (804) 521-7201
Facsimile: (804) 521-7299
www.browngreer.com
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                                          EXHIBIT 3
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                                                                                     DIRECT DIAL: (804) 521-7201
                                                                                          OFFICE: (804) 521-7200
                                                                                       FACSIMILE: (804) 521-7299
                                                                                    OBROWN@BROWNGREER.COM




                                           June 25, 2021



By Electronic Mail to Dick@CollinsTruett.com

Richard B. Collins, Esquire
Collins & Truett Attorney, P.A.
113 South Monroe Street
Tallahassee, Florida 32301

       Re:      Collins & Truett Attorneys, PA. v. Roma Petkauskas, et al.

Dear Mr. Collins:

         We are aware that you have filed a Complaint for Temporary and Permanent Injunction
in the Circuit Court of the Second Judicial Circuit, in and for Leon County, Florida, against the
Special Masters appointed by the federal District Court for the Eastern District of Pennsylvania,
Roma Petkauskas, BrownGreer, and others, relating to an on-going audit under the NFL
Concussion Settlement. Though the summons has not been properly served on us, I write in an
effort to meet and confer about the matters raised in the Complaint and seek your cooperation on
addressing them in the proper manner.

        Under Section 27.1 of the NFL Concussion Settlement Agreement and Paragraph 16 of
the April 22, 2015 Final Order and Judgment approving that Agreement (Document 6510), the
federal District Court for the Eastern District of Pennsylvania in Philadelphia has continuing and
exclusive jurisdiction over all Settlement Class Members and any dispute or controversy arising
out of or related to the interpretation, implementation, administration, or enforcement of the
Settlement Agreement. In addition, by Order of June 14, 2017 (Document 7825 and Document
7715-2), the Court directed that the Special Masters, the Claims Administrator, the BAP
Administrator, the Lien Resolution Administrator, the Appeals Advisor Panel members, the
Appeals Advisory Panel Consultants, and all their employees, agents, representatives, owners,
and officers have immunity in the performance of tasks in the Settlement Program and no one
has any right to file any suit or action against them, except for willful misconduct.

        Complaints about how the Settlement is being administered can be raised only before
Judge Brody, the supervisory Court with exclusive jurisdiction over such matters, and only by
motion in that Court, rather than by lawsuit. The Court also has ruled in other such situations
that Settlement Class Members and their lawyers must exhaust the administrative remedies
before bringing a motion to Judge Brody, which you have not done.

        Your state court suit is in violation of those federal Orders. I ask that you cause the suit
to be dismissed without prejudice, to avoid being held in contempt. We are happy to talk with
                                 250 ROCKETTS WAY | RICHMOND, VA 23231
             PHONE (804) 521-7200 | FAX (804) 521-7299 | EMAIL INFORMATION@BROWNGREER.COM
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Richard B Collins, Esquire
June 25, 2021
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you to explain the foregoing and the status of the audit proceeding in which you and your firm
are involved and answer any questions you have. For example, we have no access to any of your
email servers and do not know what your reasonable basis in fact could be for making that
allegation and other libelous and unfounded accusations in your Complaint of “criminal
conduct.”

        Please call me at (804) 839-2352 or email me at obrown@browngreer.com to confer on
resolving this dispute without the need for further judicial proceedings. Thank you.

                                           Sincerely,



                                           Orran L. Brown, Sr.

cc:    Neil Bruce Epstein, Esquire (neil@collinstruett.com; bruce@collinstruett.com)
       Ms. Sharon Delaney (Sharon@CollinsTruett.com; mssdelaney@gmail.com)
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From:           Bruce E
To:             Orran Brown
Subject:        Collins & Truett "Special Audit" - Fwd: Special Masters" Decision
Date:           Tuesday, June 29, 2021 1:15:06 AM
Attachments:    Signature Block - 08 20 20 b.png


Mr. Brown,

Thank you for taking the time to draft your letter, sent on Friday, 6/25. Your points are well
taken, but misplaced. Your team has undeniably, and illegally either breached our private law
firm email servers, or illegally obtained non-NFL emails from our law firm email account. We
have incontrovertible evidence of that fact. As you will see in my below response to Mrs.
Petkauskas, our Complaint seeking injunctive relief from these illegal breaches has nothing to
do with the NFL Concussion Settlement in so far as a) our law firm email was definitely
hacked by your team, or illegally transmitted to you by a related party, and b) we have the
Constitutional right request injunctive relief from that activity, and to inquire via Court Order
as to who is responsible for this breach by compelling discovery - outside of the NFL Claims
Process. Counter to your assertion, our Complaint does not fall within the EDPA’s exclusive
jurisdiction, and your team is not immune from the repercussions of hacking into a law firm's
email server; particularly based upon the impetus of a civil investigation.

Your team has broken the law, our law firm has been victimized by their activity, and we are
seeking injunctive relief from this behavior. Nothing to do with the Rules of NFL Concussion
Settlement, nor the Eastern District of Pennsylvania.

By virtue of the fact that you stated in your letter to us that your team “did not breach our
email” leads me to believe that you may not have thoroughly read our Complaint seeking
Injunctive Relief, and nor have you analyzed the enclosed exhibits. Again, we have undeniable
evidence that your team hacked our private law firm email servers. And, we have heard that
this has and does happen to other law firms at the hands of your team. The problem here is that
your team may have been informed so many times that they can do whatever they want in
order to uncover potential fraud in the claims process - even where there is no fraud - that
they are convinced they are immune from breaking the law and violating the Constitutional
and State rights of others in order to accomplish their goal of uncovering fraud, or to even
conjure up fraud when it does not exist. This severe shortcoming of your team wrongly
believing they are immune from all conceivable behavior they engage in in order to “protect
the integrity of the Claims Process,” even if they violate the Constitutional rights of others or
engage in illegal activity, falls back on the management and training at BrownGreer.

In discussions with Mr. Collins, we are certainly not going to rescind our Complaint for
Injunctive Relief, which was filed in the proper venue (and rightly served) in order to prevent
our Constitutional rights to privacy from being criminally violated. In fact, we have every
intention of making our lawsuit and the evidence/exhibits contained therein, excruciatingly
public; so other law firms who also may have been victimized by this inordinately wrongful
behavior by your team - and they are out there - also step forward with their evidence of the
same happening to them. This will establish a pattern of practice, which we now know exists.
The practice of hacking email accounts by the NFL Claims Administration assuredly rises to
the point of “willful misconduct.” However, this issue is being raised in a lawsuit that is, by its
very nature, separate and apart from the NFL Concussion Settlement.

I sincerely apologize if I am coming on strong, but when my Constitutional rights, and the


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rights of the good people I work with are wrongfully taken from us at the hands of a civil
investigation, I am compelled with every fiber of my being to come on strong, and to fight this
injustice to the very end. Mr. Collins feels the same way. And, so would you if your
Constitutional rights were being violated with the shear impunity, and false sense of immunity
that you have instilled in your team.

I respect you for the good work that you are doing with the Settlement Process, but I draw the
line at BrownGreer and the Special Masters undertaking a pattern and practice of engaging in
illegal activity in order to root-out non-existant fraud.

I am bringing my response to Mrs. Petkauskas to you directly so you see, in plain sight, the
type of illegal activity that your team is engaging in in order to “detect and prevent” non-
existent fraud, and to conjure up fraud where, in reality, no fraud exists.


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Begin forwarded message:

From: Bruce E <bruce@collinstruett.com>
Subject: Re: Special Masters' Decision
Date: June 28, 2021 at 8:43:48 PM EDT
To: Roma Petkauskas <rpetkauskas@browngreer.com>
Cc: Sharon Delaney - Ohana Management Group <Mssdelaney@gmail.com>, Dick
Collins <Dick@CollinsTruett.com>

Mrs. Petkauskas,

Thank you for this information. If you will examine the NFL Concussion Claims that Collins
& Truett, with the assistance of Sharon Delaney, have submitted thus far you will clearly see
that each and every claim has been, and will continue to be, in strict adherence to the terms of
Settlement, and beyond. And, that none of our submissions contain, nor will ever contain any
prior medical records derived from other law firms, as we are emphatically ensuring that all
Collins & Truett retired NFL clients are tested, or re-tested by highly qualified and approved
MAF and BAP providers, along with the mandate that every player must obtain extensive
bona fide 3rd party medical records from providers of their choosing before Collins & Truett
will ever send them to MAF/BAP providers for testing. In fact, Collins & Truett has had some
retired NFL clients whose 3rd party medical records do not indicate signs of post-concussion
syndrome, and we inform those players that they do not have a viable claim at this time, and
we refrain from sending them for MAF/BAP testing, and refrain from considering filing a
Concussion Claim for them.

Once you conclude your ongoing plethora of audit investigations you will readily observe that
Collins & Truett, and Sharon Delaney are submitting concussion claims that are exemplary of
what the Settlement Rules are set up to facilitate. There will be no denying that.

While working with Howard & Associates I never observed any of the issues that you raise in
your audit reports, and I personally have absolutely not partaken in any such activities. While
at Howard & Associates, the bulk of my assignments were to work with counsel on their
tobacco claims, and other (non-NFL) personal injury claims. As far as my involvement with
NFL while acting in the capacity of independent contractor at Howard & Associates was two,
and only two tasks: One assignment was to draft a Workers’ Compensation complaint against
the NFL, which was reviewed by counsel and presented to the Federal Court in Ft. Lauderdale,
and the other assignment was to locate and provide MAF qualification forms to Dr. Koberda.
(To the best of my knowledge Howard & Associates was sending retired NFL clients to
neurologist, Dr. Koberda, before I started working with Howard & Associates in 2016, and
that the Concussion Settlement Rules were published in 2017, which stated that qualifying
medical reports must be submitted by MAF doctors, so I was tasked with locating and
providing Dr. Koberda with the proper forms so he could apply to become MAF certified.
This was in 2017, over 4 years ago. Looking back, and learning what I have learned about the
Concussion Settlement since 2016, and also what I have learned from Sharon Delaney (that
law firms should have absolutely no correspondence with MAF doctors under any
circumstances, except for merely facilitating scheduling and paying the bills), I would have
known that interfacing with a doctor on that technical issue was not condoned by the
Settlement process, and I would not have located and provided those MAF application forms
to Dr. Koberda, even though it was tasked to me). Meanwhile, since that time, I have
unquestionably learned best practices, and the proper way to proceed with NFL Concussion
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Claims, and I adhere to the published and unspoken Rules of the Settlement at all times, as
does the Collins & Truett law firm. Again, if you review our current claims, there will be no
denying that either.

All being said, to preclude me from partaking in the settlement process is well beyond the
scope of “protecting the integrity of the claims process,” and we are looking into the legality
of your extreme interpretation and extension of the “detect and prevent“ clause in Rule 6. We
feel that your collective activity of attempting to preclude from the Settlement anybody that
“touched Howard,” based upon the mere fact that a person has worked with Howard &
Associates in the past, the degree to which you are exercising this authority is unconstitutional.
We are looking into what legal remedies can be brought in the face of this systemic injustice.
The methods by which you have chosen to investigate and attempt to preclude certain parties
to this audit go beyond unconscionable, and exhibit a high degree of willful misconduct; for
example knowingly creating a (false) narrative that Sharon Delaney pretended to be
Shockmain Davis’ wife, and then investigating her and the law firms that she works with
based upon that falsely contrived premise.

If you are attempting to preclude anyone that “touched Howard” from the Concussion
Settlement, then why isn’t the Shenaq law firm also being precluded? They are more tied to
Howard & Associates than Collins & Truett can ever hope to be relating to the NFL
Concussion Settlement. Your true intentions regarding this unending audit are in serious
question. Are you really “protecting the integrity of the Settlement,” or do you have other
motivations?

Lastly, we do not appreciate the fact that you have unequivocally hacked our law firm email
servers. In fact, we have spoken to other law firms who represent other retied NFL players in
the Concussion Settlement, and they too have said the same thing; that BrownGreer has
hacked their email. You do understand that that activity is illegal. Right? (I also know that one
of your forthcoming questions to me is now going to be: "What other law firms have I spoken
with regarding the Concussion Settlement, and the audit process?" I will save you time and let
you know now that I do not recall).

Our recent Complaint seeking injunctive relief from the evidenced email hacking that you
apparently, and frequently engage in with impunity is a lawsuit that is completely dis-related
to the Concussion Settlement and does not fall under “exclusive jurisdiction” of the EDPA.
You hacked our email. Period. The reason why you hacked our law firm email has absolutely
no bearing on the fact that you hacked our law firm mail servers. This is a question of
Constitutional ad State rights, not a question that falls, in any way shape or from, under the
NFL Concussion Settlement. Immunity does not apply here. You are not immune from being
caught hacking the private email server of a law firm. Nor, are you immune from fabricating
evidence in order to create a narrative that provides you with a false basis to preclude highly
qualified, honest, and hard-working individuals from partaking the Settlement; i.e., Sharon
Delany. Lastly, under the Injunction, at long last, you are now not immune from answering
our questions as they relate to your illegally hacking our law firm email server.

Even though you are “not sharing the Special Masters’ Decision publicly at this time,” we are
most certainly sharing our Injunctive lawsuit against you, BrownGreer, and the Special
Masters as publicly as possible within the upcoming days. We will take this evidence and the
lawsuit to the highest court in the land if necessary. You have blatantly violated our
Constitutional rights with impunity; under the false pretense that you (think) you are immune
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from such illegal behavior. Please think again.

If myself, Collins & Truett law firm, and Sharon Delaney were actually attempting to deceive
or defraud the Settlement process, then why would we be fighting so hard to ensure that our
legal and Constitutional rights are not violated by your unending audit process? We are all
prepared to fight to the death on your over-extension of this egregious “”special audit,”
because none of us has done anything improper, illegal, our even beyond the pale. None of us
have anything to hide from anyone, and we are going above and beyond to ensure that all of
our retired NFL clients are well cared for, continually communicated with, and that their
claims and potential claims are processed properly through this law firm, and ultimately
through the Claims process. Our focus is to legally and ethically act in the best interest of our
clients. The excessive length of this “special audit," and your overly extended interpretation of
the term “detect and prevent" as it pertains to Collins & Truett, also may be effectively
violating the rights of our retired NFL clients. We do not take that lightly. If you review all of
Collins & Truett's Concussion Claims submitted thus far, and all of the proposed Concussion
Claims that we are preparing to submit as times goes by, you will see nothing less than
integrity, proper preparation of claims, proper testing practices and procedures, proper
communications with retired NFL clients, proper communications with BrownGreer as
the Claims administrators, and 100%+ adherence to the Rules and intentions of the
Settlement process. We give you an open invitation to speak with any one of our retired NFL
clients to ask them how we are doing with their Concussion Claims, or potential Concussion
Claims. You will find that my statement pertaining to the integrity and efforts we put forth
with every retired NFL client, and every claim and potential claim is 100% true.

I ask again, are you attempting to preclude myself, Collins & Truett, and Sharon Delaney from
the Claims process for the sake of “protecting the integrity of the Claims process,” or do you
have another motivation? We will soon find out.

I am available to speak with you at any time, 24/7. Mr. Collins will set a Zoom appointment
with you for the end of July, as per your request.

Earnestly,

N. Bruce Epstein
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On Jun 28, 2021, at 4:41 PM, Roma Petkauskas <rpetkauskas@browngreer.com> wrote:

Mr. Epstein: the attached is Special Masters’ Decision on the Report of Adverse Finding
Regarding Howard & Associates, P.A., and Related Parties. This Decision is confidential to
you as a recipient; it is not being shared publicly at this time.

Let me know if you have any questions.

Thank you.
Roma

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<Howard SM Rule 27 Decision.pdf>
